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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LG ELECTRONICS INC. AND LG                             )
 ELECTRONICS ALABAMA, INC.,                             )
                                                        )   Case No. 1:21-cv-2600
                Plaintiffs,                             )
                                                        )   Judge: Mary M. Rowland
         v.                                             )
                                                        )   Magistrate Judge: Heather K. McShain
 THE PARTNERSHIPS AND                                   )
 UNINCORPORATED ASSOCIATIONS                            )
 IDENTIFIED IN SCHEDULE A,                              )
                                                        )
                Defendants.                             )

                 Motion for Leave to Withdraw Appearance of Clayton Faits

        Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, Plaintiffs LG Electronics Inc. and LG Electronics Alabama, Inc., hereby respectfully

move this court for leave to withdraw the appearance of Clayton Faits as one of the attorneys of

record in this matter. Mr. Faits’s withdrawal will cause no delay, as LG Electronics Inc. and LG

Electronics Alabama, Inc. will continue to be represented by other counsel with appearances on

file.

WHEREFORE, LG Electronics Inc. and LG Electronics Alabama, Inc. respectfully request that

Mr. Faits’s appearance as counsel of record be withdrawn.
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Date: August 22, 2023                       /s/ Clayton Faits

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                                            and LG Electronics Alabama, Inc.




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